Case 3:24-cv-00526-ART-CSD    Document 64-3   Filed 03/19/25   Page 1 of 7




                             EXHIBIT 3




                             EXHIBIT 3
Case 3:24-cv-00526-ART-CSD   Document 64-3   Filed 03/19/25   Page 2 of 7
  Case 3:24-cv-00526-ART-CSD            Document 64-3        Filed 03/19/25     Page 3 of 7


      Federal Rules of Civil Procedure 26(f) and 30(b)(3) allow for transparency in
      discovery proceedings, and nothing prohibits recording procedural negotiations.
      Your refusal to engage in recorded discussions undermines due process and suggests
      an intent to misrepresent or manipulate the content of these conversations later.
      I will be filing my motion to the Court requesting judicial intervention to ensure meet
      and confer discussions are recorded or at a minimum, documented in writing to
      prevent misrepresentation.

3. Defendants’ Liability and the Need for Resolution

Let’s be clear—this case is already shaping up to be a multi-million-dollar liability for
Washoe County.

      The Library System operates on a $17 million annual budget, yet your clients have
      spent nearly three years engaging in viewpoint discrimination, false accusations, and
      censorship of protected speech.
      Your own clients have documented their intent to manipulate public access and
      suppress viewpoints they disagree with—clear violations of 42 U.S.C. § 1983 and
      well-established First Amendment protections.
      The County has actively enabled libelous media campaigns against me, falsely accusing
      me of injuring a librarian, while also fabricating public meeting minutes to misrepresent
      my statements.

Given the overwhelming evidence of Defendants’ misconduct, I am confident that a jury
would find in my favor, and a $17 million damage award is not unreasonable based on
precedent in similar § 1983 cases.

4. Upcoming Amended Complaint Expands the Case

I am finalizing my Amended Complaint, which will include new defendants, additional
causes of action (15 in total), and substantial new evidence obtained through a records
request that was handled by Luke Busby for Val Fiannaca that further exposes the pattern
and practice of exclusion, viewpoint suppression, and coordinated security efforts by
Defendants.

      New Defendants to be Added:
           Library Doe Thanh Nguyen
           Beate Weinert
           Stacey Spain of Our Center
           Christopher Daniels
           Angeline Peterson of Our Center
      Index of Exhibits (1,500+ Pages):
           Internal communications showing long-term targeting of specific groups.
           Partnership documents proving collaboration between Washoe County and Build
           Our Center.
           Evidence of joint training and security efforts to control public narratives and
           exclude certain individuals.
           Emails proving that Defendants manipulated public meeting minutes to distort
           what I actually said.
  Case 3:24-cv-00526-ART-CSD              Document 64-3      Filed 03/19/25     Page 4 of 7


Since I assume Defendants will not voluntarily agree to my amendment, I will be filing a
Motion for Leave to Amend by the end of this week. This will significantly expand the
scope of this case, increase the number of depositions, and require additional discovery.

 I have attached the Index of Exhibits I have compiled, which details the extensive evidence
supporting my case. This evidence confirms a long-standing pattern of viewpoint-based
exclusion, selective enforcement, and unconstitutional collaboration between Washoe
County Library and private organizations.

5. Settlement Offer

To avoid a lengthy, expensive, and highly publicized trial, I am willing to settle this case
under the following conditions:

   1. $3 million settlement to compensate for damages, including the financial harm to
      my business caused by the County’s defamatory statements and misconduct.
   2. A formal public apology acknowledging that Defendants spread false information that
      damaged my reputation.
   3. Immediate unblocking of my accounts from all Washoe County social media
      platforms and the implementation of a new countywide social media policy that
      prevents future viewpoint-based censorship.

If these conditions are met, I will agree to dismiss the lawsuit and release all claims.
Otherwise, I will move forward with litigation, file my motion for meet and confer
transparency, and ensure that every aspect of this case is fully exposed to the public and
the Court.

6. Deadline for Response

If Defendants wish to settle this case, you must provide a written response by March 14,
2025. Failure to engage in settlement discussions will result in the full force of litigation,
including my upcoming motion regarding meet and confer transparency and my motion
for leave to amend.

If Defendants continue to obstruct transparency and accountability, I will make sure that the
full details of this case are exposed to the public, the media, and most importantly, a
jury.

I look forward to your prompt response.

Sincerely,

Drew Ribar

775-223-7899

Auditing Reno 911


On Tue, Mar 11, 2025 at 5:30 PM Liddell, Lindsay L <lliddell@da.washoecounty.gov> wrote:
 My prior response inadvertently sent before I was able to finish responding to the remainder
Case 3:24-cv-00526-ART-CSD   Document 64-3   Filed 03/19/25   Page 5 of 7
Case 3:24-cv-00526-ART-CSD   Document 64-3   Filed 03/19/25   Page 6 of 7
Case 3:24-cv-00526-ART-CSD            Document 64-3        Filed 03/19/25      Page 7 of 7


      You claim that the rules require a meet and confer by telephone or in person, but
      no rule prohibits documentation or recording of such discussions.
      Given your refusal to allow any record of these discussions, I will seek judicial
      intervention to ensure future meet and confers are recorded or documented.

3. Objection to Any Attempt to Restrict My Ability to Record and
Publish Depositions
Your attempt to suppress video depositions of public employees in a public lawsuit
raises serious First Amendment concerns.

      Public employees testifying about their official duties lack an expectation of
      privacy (Glik v. Cunniffe, 1st Cir. 2011; Fields v. City of Philadelphia, 3d Cir. 2017).
      Fed. R. Civ. P. 30(b)(3) allows deposition recordings unless restricted by a court-
      issued protective order—which has not been granted.
      If Defendants intend to seek such an order, they bear the burden under Fed. R. Civ.
      P. 26(c) to establish good cause, which you have not provided.

4. Notice of Intent to File a Motion

Due to your ongoing refusal to allow transparency in meet and confer discussions, I
intend to file a motion with the Court to require all meet and confers to be recorded or
formally documented in writing. This motion will request:

   1. That all future meet and confer discussions be recorded or documented to ensure
      an accurate record.
   2. That any party refusing to document or record these discussions be barred from
      misrepresenting them in future motions or filings.
   3. That the Court admonish Defendants' counsel for obstructing procedural
      fairness in discovery negotiations.

If you continue to oppose this request, you must provide a clear legal basis by March 14,
2025 for why transparency should be denied in this case, which directly concerns
government accountability and public access to information.

I expect your timely response with the proposed protective order and a written legal
basis for any restrictions you intend to impose.

Sincerely,


Drew Ribar

Auditing Reno 911

775-223-7899
